                                                                              Motion GRANTED IN PART -
                                                                              Extension to 7/3/2023.


                         IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

 STAR NEWS DIGITAL MEDIA, INC.,
 MICHAEL PATRICK LEAHY, and
 MATTHEW D. KITTLE,
                                                   Civil Action No. 3:23-cv-00467
                         Plaintiffs,
                                                   Judge Aleta A. Trauger
                v.
 FEDERAL BUREAU OF
 INVESTIGATION,
                         Defendant.

             MOTION TO EXTEND TIME TO RESPOND TO PLAINTIFFS’
                     MOTION FOR SUMMARY JUDGMENT

       Defendant, the Federal Bureau of Investigation (“FBI”), respectfully moves to extend the

time to respond to Plaintiffs’ early motion for summary judgment by one month, from June 15,

2023, to July 17, 2023, in this Freedom of Information Act (“FOIA”) case. This is Defendant’s

first request to extend this deadline, and it will not affect any other set deadlines in this matter.

Counsel for Defendant has conferred with counsel for Plaintiffs and is informed that, while

Plaintiffs would consent to a motion for an extension of two weeks, Plaintiffs oppose the relief

sought in this motion.

       In support of this motion, Defendant states as follows:

       1.      Plaintiffs filed this action on May 10, 2023, ECF No. 1, and asserted that service

was effectuated through certified mail sent on May 23, 2023, ECF No. 19 at 1. The United States

Attorney’s Office for the Middle District of Tennessee was not served with the complaint and

summons until May 26, 2023. Defendant’s response to the complaint is therefore not due until

June 26, 2023. 5 U.S.C. § 552(a)(4)(C).




    Case 3:23-cv-00467 Document 30 Filed 06/14/23 Page 1 of 1 PageID #: 158
